                                                                                                                                                          'SlSO:>pue lS::ll::llU!
     ~u!pnpu! 'puoq ::ll{lJO lunome ::ll!lU::l::ll{llOJ Al::lIDSl{:>e::lpue lUepU::lpP ::ll{llSU!e~e ::llm!::lJ10J JO lU::lm~pnf e 1::lp10 hem
llno:> ::ll{l'S::llelS p::ll!Ufl ::ll{Uo lS::lnb::l1 ::ll{l rv 'lU::lm::l::l1~e::ll{ll{l!M hldmo:> lOU S::lOPlUepU::lpP ::ll{U! 'puoq ::ll{llOJ Alpn:>as
      ::ll{l~u!pnpU! 'salelS pal!Ufl ::ll{lOl pa1apualIDs puoq al{Uo lunome ::ll{llapJO hlale!paUJUl! hem l]n0:> al{.L 'luamaa1~e
             ::lAoqe ::ll{ll{l!M hldmo:> lOU S::lOPlUepU::lpP ::ll{U! p::ll!::lJ10J::lq hem puoq a:>ue1e::ldde S!l{.L pU0E! aZfJJo a.m1!aJ.IO,d
                 :(tlJd,ms dlj/ ,(j'l1uap,1 puo IIdql,JJSdP.JO 'puoq /!oq alj/fo   MO:J 0 Ij:JVIIV)   Alams lU::lAIOSe l{l!M puoq I!eq e (:»
                                                                                                                                  :(dn/Vi\ pUV dlt/S.JdUM.O
              fo foo.Jd Ij:JOIIV pUV - UVO/.JO 'a2o'fJJ.l0u/ 'ual/ V sv Ipns -II uo Su/!VP 2U1pnpu!            'tlJ.lddo.Jd .IdljlO.JO IjSV:J dljl aql./:Jsap)
              ,.\lJ::ld01d l::ll{lO 10 lIse:> ~U!MoIIOJ ::ll{ll!::lJ10J Ol Al::lIDSl{:>e::lpue luepuapp                ::ll{Uo lUama::l1~e ::ll{l (q)                     )
                                                                                                                                                      $ (e)               )
                                                    :hq p::lID:>as'                                                     $ JO puoq P::lID:>::lSe S! S!l{l                (£) (      )
                                                                                               00'OOO'5l          $Jo puoq p::lm:>::lsun ue S! S!l{l                    (z;) (   X )
                                                                            puog JO ",dAl
                      '::lse::lI::lllJo sU0!l!puo:) ~u!llas 1ap10 ::ll{lU! l{llOJ las SUO!l!PUO:> ne l{l!M hldmo:> Ol         (X)
                                   JO ~asodm! hem l]n0:> ::ll{llel{l a:>U::llU::lSe ::lA1::lSOllapU::llIDS Ol 'P::lP!AUO:> J! (X)
                                                                                       ~S~U!p::l::l:>oldllTIO:>10J 1eadde Ol  (X)
                                               :neJ 1J! pal!aJ10J ::lq hem puoq S!l{llel{l aame 1al{lltlJ 1 pue 'ase:> S!l{l Sl::lP!SUO:>lel{ll]no:>
   hue   10   'llno:> S!l{lJo   1::lp10   Al::lA::lMOlloJ Ol a::l1~e '(Iuopudfdp)                            aUAO:::>uepJOr                          'I
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                                                                                      (                             e:>pamy        JO salelS pal!Ufl
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                                   s/Cynthia Reed Eddy                                                              9/10/2020
                                      s/Catherine Curtis                                                             9/10/2020
                                            .nmoJ dO )flJ31J
                                                                                                                     OlOl10~/60
                                    'PUOH ;}:)ue1e;}ddv S!ql Ol ;};}me I ';}W Ol p;}lI!e[dx;} W;}ql peq 10 llnO:) ;}ql Aq l;}S;}Se;}[;}lJO
SU0!l!PUO:);}ql lie pe;}ll;}ql!;} ;}Aeq pue puoq ;}:)uele;}dde S!ql pe;}l ;}Aeq - Al;}lnS q:)e;} pue - lUepU;}];)p ;}ql 'I 'oJU01do:J:JV
                                                                            'P;}J];) U! S! puoq ;}:)uele;}dde S!,lP;}1!qM
;}n[eA Sl! ;}:)np;}l OllllI!qlAue op 10 'l! lSU!elle ;}pew;}q Ol sw!ep l;}qlll1] MOlle 'All;}dOld ;}qllps lOU lI!M I            (£)
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                    :leql Aln!l;}d JO Alleu;}d l;}pUn ;}lep;}p - Al;}Jns q:)e;} pue -lUepU;}];)p ;}ql '{ ·tf_J.lodO.ld olfl fo d!lfS.louM()
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Ol Sllod;}llUepU;}];}p ;}ql (Z) 10 'S;}llleq:) lJe uo AlI!nll lOU punoJ S! luepu;}pp ;}ql (1) :l;}ql!;} U;}qMp;}Se;}p1 ;}q Il!M Al!Jn:);}S
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